            23-905-CV
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                                          IN THE


          United States Court of Appeals
                               FOR THE SECOND CIRCUIT



                            STRUCTURED ASSET SALES, LLC,
                                    Plaintiff-Appellant,

                                             v.

EDWARD CHRISTOPHER SHEERAN, PERSONALLY KNOWN AS ED SHEERAN, SONY/ATV MUSIC
 PUBLISHING, LLC, ATLANTIC RECORDING CORPORATION, DBA ATLANTIC RECORDS, BDI
  MUSIC LTD., BUCKS MUSIC GROUP LTD., THE ROYALTY NETWORK, INC., DAVID PLATZ
                  MUSIC (USA) INC., AMY WADGE, JAKE GOSLING,
                                                                        Defendants-Appellees,




   On Appeal from the United States District Court for the Southern District of New York




                  PETITION FOR REHEARING EN BANC



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                          PRELIMINARY STATEMENT

      Plaintiff-Appellant Structured Asset Sales, LLC (“Appellant”) respectfully

asks the Court for Rehearing En Banc of the Panel Opinion dated November 1, 2024,

attached hereto, and upon rehearing to vacate and remand to the District Court the

relevant orders and judgments entered against it.

      Appellant respectfully submits this petition for rehearing en banc pursuant to

Rule 35(b) of the Federal Rules of Appellate Procedure, as the panel decision

involves two questions of exceptional importance, namely:

      (i)     whether the “deposit copy” submitted to the Copyright Office, and in

              particular sheet music submitted to the Copyright Office as deposit

              copies for musical compositions, prior to the point in time when the

              Copyright Office accepted sound recordings as deposit copies for music

              compositions (i.e., 1978), works as a limitation on the legal scope of

              protection afforded by the 1909 version of the United States Copyright

              Act; and

      (ii)    whether, in answering the first question, the panel’s reliance on the

              legal position expressed by the Copyright Office in its administrative

              manual, the Compendium of U.S. Copyright Office Practices, and that

              of the Ninth Circuit in Skidmore v. Led Zeppelin, 952 F.3d 1051, 1063

              (9th Cir.) (en banc), cert. denied sub nom., 141 S. Ct. 453, reh’g denied,
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             141 S. Ct. 946 (2020) which also relied on the view of the law expressed

             by the Copyright Office in the Compendium, was improper after the

             United States Supreme Court’s decision in Loper Bright Enterprises v.

             Raimondo, 144 S. Ct. 2244 (2024), in which the Supreme Court

             overruled Chevron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc., 467 U.S.

             837 (1984).

      The Panel’s conclusion, that the “deposit copy” defines and limits the scope

of protection afforded under the 1909 Copyright Act, cannot be squared with the

language of the statute or the Panel’s own expressed policy justification for its

conclusion. Getting the correct answer on the “deposit copy” question is critical not

just for Appellant and the other owners of the copyright for the “Let’s Get It On”

musical composition, 1 but for thousands of legacy songwriters, artists and/or

musicians, who created millions of musical compositions and songs, including some

of the greatest songs and musical compositions ever written, who had no choice –

by virtue of the Copyright Office’s policies – but to submit sheet music (rather than

sound recordings) as deposits in connection with their copyright applications. This

is an issue of exceptional importance that should be considered en banc.



1
 “Let’s Get It On” was written and produced by Marvin Gaye and Edward
Townsend, Jr., and recorded by Marvin Gaye. The Gaye recording was #1 on the
Billboard Pop Singles Chart.


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      Moreover, because the Panel persisted in deferring to the Compendium’s view

of the law, and to the Skidmore decision that also deferred to the Compendium’s

view of the law, the Panel’s conclusion ran afoul of the Supreme Court’s overturning

of 1984’s Chevron, in 2024’s Loper Bright, and for this additional reason also

implicates an issue of exceptional importance that warrants en banc review. For

these reasons, Appellant respectfully requests rehearing en banc.

                                  ARGUMENT

I.    The Panel Was Mistaken in its Conclusion on the “Deposit Copy” Issue

      There can be no dispute that the Copyright Act of 1909 does not say that sheet

music (handwritten or otherwise) is the only type of material that can be submitted

as a deposit copy for a musical composition – that was an administrative

implementation of the Copyright Office. Nevertheless, the Panel affirmed the

District Court’s conclusion on the “deposit copy” issue based on the word “complete”

(advancing an argument which is not found in any decision by the District Court):

      A composer seeking to protect a published musical work under the
      1909 Act could do so by filing with the Copyright Office “two
      complete copies of the best edition thereof then published.” 17 U.S.C.
      § 13 (1970). The statute thus makes clear that its enforceable
      protection for musical works is limited to the contents of the
      “complete copy” of the work filed with the Copyright Office at the
      time of registration. Extending its protection beyond the “complete
      copy” would negate the plain meaning of “complete.”

ECF 102 at 13.

      The Panel then worked to reinforce its conclusion by pointing out that whereas


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the 1909 Copyright Act required submission of “complete” copies of musical

compositions, Congress decidedly did not so require “complete” copies for other

types of works:

      The 1909 Act required less than a “complete copy” for works other
      than musical compositions. For example, for a motion picture,
      Congress authorized deposit of “a title and description, with not less
      than two prints taken from different sections.” 17 U.S.C. § 12 (1970).
      And for “a work of art or a plastic work or drawing,” Congress
      authorized deposit of a “photograph or other identifying reproduction
      thereof.” Id. So Congress’s inclusion of “complete” to describe
      musical – but not other – works was deliberate.

Id. at 13-14.

      The Panel then attempted to justify its interpretation based on public policy:

      This understanding complies with the principle of fair notice that led
      to public registration of copyrights in the first place. Even before the
      1909 Act, the Supreme Court recognized that an important reason for
      requiring a deposit copy was to allow others “to ascertain precisely
      what was the subject of copyright.” Merrell v. Tice, 104 U.S. 557,
      561 (1881). One cannot fairly be liable for infringement without
      the ability to understand the contours of a prior creator’s rights.
      That is why the “deposit (and accompanying registration) requirement
      was (as it still is) a condition precedent to the right to bring an
      infringement action.” 2 Nimmer on Copyright § 7.16[A][2][b] (2024);
      see 17 U.S.C. § 13 (1970); 17 U.S.C. § 411(a).

Id. at 14 (emphasis added).2


2
  The full quote from Merrell is “Perhaps a certificate of the Librarian attached to a
copy of the book, certifying that two copies of the same book, or of which that is a
true copy, were deposited in his office on such a day, would be competent
evidence, inasmuch as the Librarian's office is a public one; the copyright books
deposited with him are quasi-records, kept in his custody for public examination, –
one object no doubt being to enable other authors to inspect them in order to

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      The “fair notice” policy justification, however, cannot be squared with the

Panel’s statutory interpretation: If the reason that Congress required the submission

of deposit copies was to provide “fair notice,” “to ascertain precisely what was the

subject of copyright,” and to “to understand the contours of a prior creator’s rights,”

Congress’s decision should not have – indeed could not have – declined to impose

the “complete” requirement across the board.

      Taking the first example provided by the Panel – motion pictures – would the

provision of “a title and description, with not less than two prints taken from different

sections” really allow someone to “ascertain precisely” what the copyright covered?

Would it really provide one “the ability to understand the contours of a prior

creator’s rights,” making it “fair” to impose liability? Appellant submits that the

answer to both questions is clearly “no.”

      Appellant raised this precise issue before the District Court and the Panel,

demonstrating that the list of categories of works for which the Copyright Office

accepts “identifying,” rather than “complete,” deposits, now numbers 20. ECF 38




ascertain precisely what was the subject of copyright.” Merrell, 104 U.S. at
561 (emphasis added). Appellant pointed out to the District Court and to the Panel
that the concept of “enable[ing] other authors to inspect them” is likewise
undermined by allowing “identifying” materials for an increasing list of work
categories.




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at 28-30. To take the more modern example of computer code, the Copyright

Office’s regulations allow for the submission of small portions of computer code –

even if it does not contain trade secrets – that surely cannot serve to provide “fair

notice” or allow one to “ascertain precisely” what is at issue. See, e.g., 2021

Compendium § 1509.1(F)(3) (with respect to “Source Code That Does Not Contain

Trade Secret Material,” “applicant should submit one copy of the first twenty-five

pages and the last twenty-five pages of the source code for that version” or “fifty

pages that represent the specific version”).

      The Panel, like the District Court before it and the 9th Circuit in Skidmore,

struggled and failed to reconcile its interpretation of the 1909 Copyright Act with

any cogent justification for such a reading. Indeed, the District Court came up with

its own entirely different rationale for why matter outside the four corners of the

deposit copy cannot be considered – “because they have not undergone the copyright

process” – but this is yet another justification immediately undermined by the

Copyright Office’s varying policies with respect to what need and need not be

submitted for various work categories. It is beyond debate, for example, that the

vast majority of computer code protected by the Copyright Act “ha[s] not undergone

the copyright process.” And yet the Copyright Act protects the entirety of computer

code referenced by – but decidedly not submitted with – an application.

      These problems are compounded further by the interaction between the


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Copyright Act and the Berne Convention, which together allow parties to initiate

copyright infringement actions in the United States based on the domestic

infringement of a “foreign work” – a work whose copyright protection arose in a

foreign jurisdiction. The validity of the foreign work is adjudged by the rules of the

foreign jurisdiction. Thus, if the foreign jurisdiction does not require registration as

a prerequisite to initiating an infringement suit, the registration requirement under

Section 411 of the Copyright Act – and therefore the deposit copy requitement –

does not apply. In all such cases – U.S. copyright infringement cases based on the

infringement of a foreign work from such a jurisdiction – there is nothing to provide

“fair notice,” no way for “other authors to inspect them in order to ascertain precisely

what was the subject of copyright,” and certainly no chance that the work at issue

has “undergone the copyright process.”

      The Panel’s extrapolation from the administrative instruction to submit “two

complete copies of the best edition thereof then published” to mean that the scope

of protection – as a matter of law – is limited to what was deposited, and only so

limited with respect to some but not all categories of works was improper, and cannot

be reconciled with common sense.

      Furthermore, “Let’s Get It On” was registered as a sound recording on June

15, 1973 (A317-18), before the composition was registered with a paper deposit of

handwritten sheet music on July 17, 1973 (A569-75) (referencing Copyright


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Registration RE0000860111, a renewal of N00000007555), meaning that the full

original version of “Let’s Get it On,” as reflected by the commercially-released

sound recording, was already on file with the Copyright Office when the applications

for the musical composition came in. Under certain circumstances, courts have

recognized a scope of protection for works broader than that reflected in an

incomplete deposit copy. Three Boys Music v. Bolton, 212 F.3d 477, 486-87 (9th

Cir. 2000). Where there is no prejudice using an incomplete deposit, there is no

basis to limit not to use the full work Defendants had access to and copied from.

Under the facts of this case, it is particularly bizarre to contemplate that the scope of

protection for the musical composition should be limited to the handwritten sheet

music when the sound recording was already deposited at the U.S. Copyright Office

a month before the handwritten sheet music deposit came in.

      For all of these reasons, this was and remains an issue of exceptional

importance to creators of musical compositions – especially legacy creators who

filed for protection in and before 1978the early 1970s – warranting en banc review.

II.   The Panel’s Reliance on the Compendium and Skidmore is No Longer
      Appropriate, after the Supreme Court Overruled Chevron in Loper
      Bright

      En banc review is also warranted by the Panel’s implicit refusal to follow the

Supreme Court’s recent guidance in the Loper Bright case, in which the Court

overruled Chevron and the so-called “Chevron Doctrine.”             The Loper Bright



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decision was issued on June 28, 2024, after briefing and the April 17, 2024 oral

argument, but before the Panel’s decision on November 1, 2024.

      Appellant demonstrated in its pre-Loper Bright briefing that all of the

authority on which the District Court relied can be traced back to the Compendium’s

statement of the law. See ECF 38 at 14-23. The District Court cited: (i) Merrell; (ii)

Skidmore and (iii) the Compendium. SPA 13-14. Skidmore, in turn, cited: (i) Data

Gen. Corp. v. Grumman Sys. Support Corp., 36 F.3d 1147 (1st Cir. 1994), abrogated

on other grounds by Reed Elsevier, Inc. v. Muchnick, 559 U.S. 154 (2010); (ii) the

Report of the Register of Copyrights on the General Revision of the U.S. Copyright

Law (1961); (iii) Merrell and (v) the Compendium. Skidmore, 952 F.3d 1051, 1062-

63.

      As discussed above, Merrell (an 1881 case discussing the predecessor to the

1909 Copyright Act) speculated that a purpose of deposit copies was to “enable other

authors to inspect them in order to ascertain precisely what was the subject of

copyright.” Merrell, 104 U.S. at 561. Neither Data General and the Report of the

Register said that the deposit copy defines the bounds of copyright protection, but

rather the opposite – that the deposit copy provides “sufficient material to identify

the work” and is a “deposit of material to identify the work.” Data General, 36 F.3d

at 1161-62 (emphasis added); Report of the Register at 71 (emphasis added).




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      Thus, the only authority cited by any of the courts on the question (the 9th

Circuit in Skidmore, the District Court and the Panel) of whether the deposit copy

defines and limits the scope of copyright protection as a matter of law – is the

Compendium. The District Court referenced the 2017 edition:

      The Copyright Office instructs that "a registration for a work of
      authorship only covers the material that is included in the deposit
      copy(ies)" and "does not cover authorship that does not appear in
      the deposit copy(ies), even if the applicant expressly claims that
      authorship in the application." U.S. Copyright Office, Compendium of
      U.S. Copyright Office Practices. §504.2 (3d ed. 2017).

SPA14 (emphasis added). The Panel similarly relied upon the 1967 edition of the

Compendium: “the Office’s Compendium of U.S. Copyright Office Practices

explained that “protection extends only to the material actually deposited.”

Compendium of U.S. Copyright Office Practices § 2.6.1.II.a (1st ed. 1967). ECF

102 at 14.

      It has long been recognized (well before Loper Bright) that the Compendium

is an “administrative manual,” not legal authority in and of itself. Georgia v.

Public.Resource.Org, Inc., 590 U.S. 255, 257 (2020); Muench Photography, Inc. v.

Houghton Mifflin Harcourt Pub. Co., 712 F. Supp.2d 84, 91 (S.D.N.Y. 2010),

reconsid. in part, 09-cv-2669, 2010 WL 3958841 (S.D.N.Y. Sept. 27, 2010).

      On June 28, 2024 – after oral argument before the Panel – the United States

Supreme Court issued its decision in Loper Bright. The Court explained the

landscape created by Chevron and the Chevron Doctrine:

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      Our Chevron doctrine requires courts to use a two-step framework to
      interpret statutes administered by federal agencies. After determining
      that a case satisfies the various preconditions we have set for Chevron
      to apply, a reviewing court must first assess “whether Congress has
      directly spoken to the precise question at issue.” Id., at 842, 104 S.Ct.
      2778. If, and only if, congressional intent is “clear,” that is the end of
      the inquiry. Ibid. But if the court determines that “the statute is silent
      or ambiguous with respect to the specific issue” at hand, the court
      must, at Chevron’s second step, defer to the agency's interpretation if
      it “is based on a permissible construction of the statute.” Id., at 843,
      104 S.Ct. 2778. The reviewing courts in each of the cases before us
      applied Chevron’s framework to resolve in favor of the Government
      challenges to the same agency rule.

Loper Bright, 144 S. Ct. at 2254. The question before the Court was “whether

Chevron should be overruled or clarified.” Id. at 2257. The Court explained that

while there was a history of the courts affording deference to agencies when it came

to questions of fact, “the Court did not extend similar deference to agency resolutions

of questions of law.” Id. at 2258.

      Further, the Court explained, the Administration Procedure Act of 1946

reinforced the role of courts – not agencies – in deciding questions of law:

      The APA thus codifies for agency cases the unremarkable, yet
      elemental proposition reflected by judicial practice dating back to
      Marbury: that courts decide legal questions by applying their own
      judgment. It specifies that courts, not agencies, will decide “all
      relevant questions of law” arising on review of agency action, § 706
      (emphasis added) – even those involving ambiguous laws – and set
      aside any such action inconsistent with the law as they interpret it.
      And it prescribes no deferential standard for courts to employ in
      answering those legal questions.

Id. at 2261 (emphasis added).



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      Ultimately, the Court reached the conclusion that “[t]he deference that

Chevron requires of courts reviewing agency action cannot be squared with the

APA.” Id. at 2263. It elaborated:

      In an agency case as in any other, though, even if some judges might
      (or might not) consider the statute ambiguous, there is a best reading
      all the same – “the reading the court would have reached” if no
      agency were involved. Chevron, 467 U.S. at 843, n. 11, 104 S.Ct.
      2778. It therefore makes no sense to speak of a “permissible”
      interpretation that is not the one the court, after applying all relevant
      interpretive tools, concludes is best. In the business of statutory
      interpretation, if it is not the best, it is not permissible.

      Perhaps most fundamentally, Chevron’s presumption is misguided
      because agencies have no special competence in resolving
      statutory ambiguities. Courts do. The Framers, as noted, anticipated
      that courts would often confront statutory ambiguities and expected
      that courts would resolve them by exercising independent legal
      judgment. And even Chevron itself reaffirmed that “[t]he judiciary is
      the final authority on issues of statutory construction” and recognized
      that “in the absence of an administrative interpretation,” it is
      “necessary” for a court to “impose its own construction on the
      statute.” Id., at 843, and n. 9, 104 S.Ct. 2778. Chevron gravely erred,
      though, in concluding that the inquiry is fundamentally different just
      because an administrative interpretation is in play. The very point of
      the traditional tools of statutory construction – the tools courts use
      every day – is to resolve statutory ambiguities. That is no less true
      when the ambiguity is about the scope of an agency's own power –
      perhaps the occasion on which abdication in favor of the agency is
      least appropriate.

Id. at 2266 (emphasis added). The Court concluded as follows:

      Chevron is overruled. Courts must exercise their independent
      judgment in deciding whether an agency has acted within its
      statutory authority, as the APA requires. Careful attention to the
      judgment of the Executive Branch may help inform that inquiry. And
      when a particular statute delegates authority to an agency consistent


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      with constitutional limits, courts must respect the delegation, while
      ensuring that the agency acts within it. But courts need not and
      under the APA may not defer to an agency interpretation of the
      law simply because a statute is ambiguous.

Id. at 2273 (emphasis added).

      One can view what the Copyright Office has done through Compendium either

as an agency pronouncement of how to interpret the Copyright Act, or as a set of

administrative rules promulgated based on the agency’s interpretation of the law.

One can also view the “two complete copies” phraseology as inherently clear or

inherently ambiguous. It matters little, as Loper Bright instructs that this Court may

no longer defer to the Copyright Office’s view as to how to interpret the 1909

Copyright Act. Appellant maintains that the Panel relied upon the Compendium’s

legal opinion. At the absolute minimum, the Panel turned to the Compendium’s

pronouncement of the law to shore up its analysis. As reflected above, Appellant

maintains that that analysis was flawed and is undermined by, inter alia, the various

justifications advanced over the years (including the “fair notice” justification

advanced by the Panel). The Compendium’s view of the law should not enter into

the analysis at all, and the analysis of the Ninth Circuit, the District Court and the

Panel, all of which ultimately relied on the Compendium, should be abandoned so

that this question can be analyzed properly. As the Supreme Court recently taught,

“courts decide legal questions by applying their own judgment…courts, not agencies,

will decide ‘all relevant questions of law.’”

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      Furthermore, as advanced by amici Randy Craig Wolfe Trust and Sound and

Color, LLC (the plaintiffs in the Skidmore case), Loper Bright requires a fresh review

of what the 1909 Copyright Act did and did not do, without the Compendium’s view

coloring the analysis:

      The Copyright Office has claimed that the 1909 Act registration
      deposit strictly delimits the scope of copyright in a work. In fact,
      nothing in that Act states that the deposit defines scope – no court
      ever limited a copyright based on a deposit for over 100 years until
      Led Zeppelin.

      Loper Bright now makes it clear that the Office’s interpretation of the
      1909 statute is irrelevant. Appellees’ claim that Skidmore deference3
      still applies ignores that the Office has the right to promulgate rules,
      not interpret and create law.

      Prior to 1976, common law governed the creation/scope of copyrights.
      Roy Export v. Columbia Broadcasting, 672 F.2d 1095, 1101 (2d Cir.
      1982). The 1909 Act merely provided protections for already
      existing works. Registration with an administrative deposit was a way
      to obtain those protections; it had nothing to do with scope.

      Only in the 1976 Act did Congress address creation/scope of
      copyright (incorporating the common law creation standard), creating
      a single federal system.

      Loper Bright necessitates this Circuit doing what the lower court and
      the Ninth Circuit did not do: analyze the dual system in place from
      1909 to 1978 and recognize the deposit did not determine scope.

ECF 97 at 1.




3
 Amici refer here to Skidmore v. Swift & Co., 323 U.S. 134 (1944), which was
unrelated to the Skidmore deposit copy case.


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      Finally, the Court will recall that the Ninth Circuit Court of Appeals granted

rehearing en banc in the Skidmore matter to address, inter alia, the “deposit copy”

issue. We urge this Court to do the same, in view of the exceptional importance of

this issue, especially after the Loper Bright decision, which Appellant submits

requires a legal analysis uninfluenced by the Copyright Office or the Compendium.

      Proper application of the Supreme Court’s decisions, here the June 2024

decision in Loper Bright overruling 40 years of precedent, is self-evidently a matter

of exceptional importance, and for this additional reason Appellant urges this Court

to grant its Petition for Rehearing En Banc.

                                 CONCLUSION

      Appellant Structured Asset Sales, LLC respectfully requests that the Court

grant its Petition for Rehearing En Banc, to address questions of exceptional

importance relating to the proper interpretation of the 1909 Copyright Act, and the

proper application of the United States Supreme Court’s 2024 Loper Bright decision.

November 15, 2024                              Respectfully submitted,

                                                             /s/
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                     CERTIFICATE OF COMPLIANCE

     Pursuant to Fed. R. App. P. 40(b)(1), I hereby certify that the foregoing brief

was produced using the Times New Roman 14-point typeface and contains 3,851

words.




                                                           /s/
                                                      Hillel I. Parness
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                 United States Court of Appeals
                    For the Second Circuit

                                August Term 2023
                              Argued: April 17, 2024
                             Decided: November 1, 2024

                                         No. 23-905


                         STRUCTURED ASSET SALES, LLC,

                                  Plaintiff-Appellant,

                                             v.

     EDWARD CHRISTOPHER SHEERAN, PERSONALLY KNOWN AS ED
SHEERAN, SONY/ATV MUSIC PUBLISHING, LLC, ATLANTIC RECORDING
CORPORATION, DBA ATLANTIC RECORDS, BDI MUSIC LTD., BUCKS MU-
 SIC GROUP LTD., THE ROYALTY NETWORK, INC., DAVID PLATZ MUSIC
             (USA) INC., AMY WADGE, JAKE GOSLING,

                                 Defendants-Appellees. *


                 Appeal from the United States District Court
                   for the Southern District of New York
                    No. 18-cv-5839, Louis L. Stanton, Judge.


Before:            CALABRESI, PARKER, and PARK, Circuit Judges.



        *   The Clerk is respectfully directed to update the caption accordingly.
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      In this appeal from a judgment of the United States District
Court for the Southern District of New York (Stanton, J.), we consider
whether the district court erred by dismissing an action alleging that
Ed Sheeran’s 2014 hit Thinking Out Loud infringes the copyright of
Marvin Gaye’s 1973 classic Let’s Get It On.    It did not.   First, the
Copyright Act of 1909 protects only the musical composition of Let’s
Get It On as defined by the sheet music deposited with the Copyright
Office in 1973. Second, we conclude that Plaintiff’s “selection-and-
arrangement” theory, predicated on the combination of a four-chord
progression and a syncopated harmonic rhythm, fails as a matter of
law. Accordingly, we AFFIRM the judgment of the district court.




                HILLEL I. PARNESS, Parness Law Firm, PLLC, New
                York, New York, for Plaintiff-Appellant.

                Alfred J. Fluehr, Francis Alexander, LLC, Media,
                Pennsylvania, for amici curiae Randy Craig Wolfe Trust
                and Sound and Color, LLC.

                DONALD S. ZAKARIN, (Ilene S. Farkas, Andrew M.
                Goldsmith, and Brian M. Maida, on the brief ) Pryor
                Cashman LLP, New York, New York, for Defendants-
                Appellees.



PARK, Circuit Judge:

      The question in this case is whether the district court erred by
dismissing an action alleging that Ed Sheeran’s 2014 hit Thinking Out


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Loud infringes the copyright of Marvin Gaye’s 1973 classic Let’s Get It
On. It did not.

        First, the Copyright Act of 1909 protects only the musical com-
position of Let’s Get It On as defined by the sheet music deposited
with the Copyright Office in 1973 (“Deposit Copy”).          The Deposit
Copy does not encompass Gaye’s audio recording of the song. We
thus affirm the decision of the district court to exclude evidence and
expert testimony relating to musical elements outside the Deposit
Copy.

        Second, Plaintiff’s “selection-and-arrangement” theory fails as
a matter of law. Even when combined, the four-chord progression
and syncopated harmonic rhythm at issue are too unoriginal for cop-
yright protection.     Plaintiff failed to rebut evidence that this same
combination appears in well-known songs predating Let’s Get It On,
leaving no triable issues of fact as to the originality of the alleged com-
bination.    And no reasonable jury could find that the two songs,
taken as a whole, are substantially similar in light of their dissimilar
melodies and lyrics.

        We affirm the judgment of the district court.

                        I.    BACKGROUND

A.      Factual Background

        In 2014, Defendants-Appellees Ed Sheeran and Amy Wadge
wrote the romantic ballad Thinking Out Loud. It topped global music
charts and became one of the most-streamed songs in history, with




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over 3.8 billion streams on YouTube and 2.5 billion on Spotify. 1 At
the 58th Grammy Awards in 2016, it won Song of the Year and Best
Pop Solo Performance and earned a Record of the Year nomination.

      Forty-one years earlier—in 1973—Ed Townsend and Marvin
Gaye wrote Let’s Get It On. Gaye is a music icon and one of Mo-
town’s biggest stars, and Let’s Get It On was one of his greatest hits.
That same year, Townsend registered a copyright for Let’s Get It On
by sending a copy of the five pages of sheet music for the song’s mel-
ody, harmony, rhythm, and lyrics—the “Deposit Copy”—to the Cop-
yright Office. The copyright was registered as No. EP314589.

      Plaintiff-Appellant Structured Asset Sales, LLC (“SAS”) owns
a one-ninth interest in the royalties from Let’s Get It On—one third of
Townsend’s one-third share. SAS is a firm that purchases royalty
interests from musical copyright holders, securitizes them, and sells
the securities to other investors. The record before us indicates that
the remaining two thirds of Townsend’s interest (or two ninths) be-
long to Kathryn Griffin, Helen McDonald, and the Estate of Cherrig-
ale Townsend. Successors to Gaye and Motown Records—includ-
ing Defendant-Appellee Sony/ATV Music Publishing—own the re-
maining two thirds of Let’s Get It On.




      1     See     Ed   Sheeran,   Thinking Out    Loud,  YOUTUBE,
https://www.youtube.com/watch?v=lp-EO5I60KA (accessed Oct. 31, 2024)
[https://perma.cc/C6T7-86FH]; Ed Sheeran, Thinking Out Loud, SPOTIFY,
https://open.spotify.com/track/1Slwb6dOYkBlWal1PGtnNg (accessed Oct.
31, 2024) [https://perma.cc/J77G-6VRF].

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B.      Procedural History

        1.    Griffin v. Sheeran
        In 2017, Griffin, McDonald, and the Estate of Cherrigale Town-
send brought a copyright infringement suit against Sheeran and var-
ious entities that produced, licensed, and distributed Thinking Out
Loud.

        The Griffin plaintiffs claimed that Sheeran plagiarized Let’s Get
It On. They alleged that the songs’ similar harmonies, drums, bass
lines, and tempos proved that Sheeran copied Townsend’s work.
One alleged similarity is especially relevant here: the Griffin plaintiffs
pointed to the combination of the chord progression in Let’s Get It On
and the way anticipation was used in connection with that chord pro-
gression (“Harmonic Rhythm”) as evidence of Sheeran’s infringe-
ment.

        As a co-owner of the rights to Let’s Get It On, SAS belatedly
sought to join the Griffin lawsuit. But the district court denied leave
to intervene, and we affirmed in an interlocutory appeal, see Griffin v.
Sheeran, 767 F. App’x 129 (2d Cir. 2019) (summary order). We wrote
that denying leave to intervene would “not give rise to undue ineffi-
ciencies.” Id. at 134.

        2.    This Lawsuit
        Unable to join Griffin, SAS filed this lawsuit in 2018 against
Sheeran, Wadge, and those responsible for recording, distributing,




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and licensing Thinking Out Loud (collectively, “Sheeran”). 2 It was as-
signed to the same district judge.

      SAS’s allegations in this action are materially the same as those
at issue in Griffin: Sheeran copied Let’s Get It On, as evidenced by the
chord progression and harmonic rhythm of the two songs and other
similarities to elements found in Gaye’s audio recording. Sheeran
moved for summary judgment in this case in April 2021.

      3.     SAS’s Expert Testimony
      In September 2021, while Sheeran’s summary-judgment mo-
tion was pending, the district court resolved several of Sheeran’s mo-
tions in limine. It excluded, among other things, Gaye’s audio re-
cording of Let’s Get It On.

      The district court concluded that SAS’s infringement claim was
limited to the scope of Townsend’s registration as reflected in the De-
posit Copy. The district court thus prohibited SAS from comparing
“elements in Thinking Out Loud [that] are similar to elements in the
Gaye sound recording (but not the Deposit Copy),” and it excluded
evidence (including expert opinions) regarding musical elements that
are not notated in the Deposit Copy.

      One such element outside the Deposit Copy was the “bass line”
in Gaye’s recording: “There is no genuine question that there is no
notation or specification of a bass line in the Deposit Copy.   That has




      2  Defendants-Appellees also include Sony/ATV Music Publishing,
LLC; Atlantic Recording Corporation d/b/a Atlantic Records; BDi Music
Ltd.; Bucks Music Group Ltd.; The Royalty Network, Inc.; David Platz Mu-
sic (USA) Inc.; and Jake Gosling.

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been accepted by both sides and is apparent from a visual inspection,
and is beyond dispute.” Special App’x at 15.

      One of SAS’s experts, John Covach, said that he could “infer” a
bass line from the Deposit Copy. According to Covach,

      The most direct and basic practice is for the bass line to
      be formed from the roots of each [of] the chords specified
      above the melody in the [Deposit Copy]. Since the
      chords specified are E♭– G minor – A♭– B♭7, the most obvi-
      ous bass line is simply a succession of the notes E♭– G –
      A♭– B♭, and this is precisely what musicians would un-
      derstand the [Deposit Copy] to be specifying. Thus, a
      specific bass line is indicated by the chord symbols on the
      [Deposit Copy], even though it is not notated separately.
App’x at 462-63.
      Covach said his inferred bass line was “the simplest and most
obvious bass line that one versed in reading music would play if
asked to play what is on the page.”      Covach’s inferred bass line
matched the bass line in Gaye’s sound recording of Let’s Get It On and
the bass line in Thinking Out Loud. Covach thus pointed to his in-
ferred bass line as an example of how the songs were similar.
Sheeran moved to exclude Covach’s testimony on the ground that it
“admittedly and necessarily rel[ied] on an element that is not ex-
pressed in the Deposit Copy.”

      The district court agreed with Sheeran and excluded Covach’s
opinions on an inferred bass line. It found that “[t]here is no bass
line in the . . . Deposit Copy,” and it emphasized that “copyright law
protects only that which is literally expressed, not that which might
be inferred or possibly derived from what is expressed.” The district
court denied Sheeran’s motion for summary judgment without

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prejudice to allow the parties the opportunity to account for its clari-
fication about what was protected by Townsend’s registration.

       4.     Sheeran’s Renewed Summary-Judgment Motion
       Sheeran then renewed his motion for summary judgment. He
argued that: “(i) the combination of two unprotectable elements is not
sufficiently numerous or original to constitute an original work enti-
tled to copyright protection under the ‘selection and arrangement’
theory of liability; and (ii) Let’s Get It On’s backing pattern is not iden-
tical or nearly identical to that in Thinking Out Loud.”

       The district court denied Sheeran’s motion. See Structured As-
set Sales, LLC v. Sheeran, 632 F. Supp. 3d 192 (S.D.N.Y. 2022). It con-
cluded that, as in Griffin, “‘the question whether those elements [i.e.,
chord progression and harmonic rhythm] in [Let’s Get It On] demon-
strate sufficient originality and creativity to warrant copyright protec-
tion is a factual question to be determined at trial.’” Id. at 197 (quot-
ing Griffin v. Sheeran, 351 F. Supp. 3d 492, 497 (S.D.N.Y. 2019) (internal
quotation marks omitted)).         Sheeran then moved for reconsidera-
tion; that motion remained pending as Griffin proceeded to trial.

       On May 4, 2023, the jury in Griffin found that Sheeran did not
infringe the Let’s Get It On copyright. 3 Twelve days later, the district


       3   Griffin could proceed without SAS because a “joint owner is not
required to join his other co-owners in an action for infringement.” Davis
v. Blige, 505 F.3d 90, 99 (2d Cir. 2007); see 17 U.S.C. § 501(b) (The court “may
require the joinder . . . of any person having or claiming an interest in the
copyright.” (emphasis added)). If the Griffin plaintiffs had won, SAS
could have enjoyed the benefits of the jury’s award because copyright co-
owners owe one another an accounting of profits. See, e.g., Thomson v. Lar-
son, 147 F.3d 195, 199 (2d Cir. 1998). But if they lost, SAS could still pursue
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court granted Sheeran’s motion for reconsideration and awarded him
summary judgment. See Structured Asset Sales, LLC v. Sheeran, 673 F.
Supp. 3d 415 (S.D.N.Y. 2023). The district court concluded that re-
consideration was warranted principally on the ground that its earlier
decision had “overlooked” an issue that other district courts in the
Second Circuit had only recently “started to weigh”: a “numerosity
requirement for selection and arrangement claims of infringement.”
Id. at 421, 422 (citing Nwosuocha v. Glover, No. 21-cv-4047, 2023 WL
2632158 (S.D.N.Y. Mar. 24, 2023); see also Skidmore as Tr. for Randy Craig
Wolfe Tr. v. Led Zeppelin, 952 F.3d 1051, 1074 (9th Cir. 2020) (en banc)
(“We have extended copyright protection to a combination of unpro-
tectable elements only if those elements are numerous enough and
their selection and arrangement original enough that their combina-
tion constitutes an original work of authorship.” (cleaned up)). 4


its own claims because Sheeran could not have used a verdict in his favor
against SAS. See, e.g., Bifolck v. Philip Morris USA Inc., 936 F.3d 74, 79-80
(2d Cir. 2019) (explaining nonmutual offensive collateral estoppel); Martin
v. Wilks, 490 U.S. 755, 761-62 (1989) (“A judgment or decree among parties
to a lawsuit resolves issues as among them, but it does not conclude the
rights of strangers to those proceedings.”); Restatement (Second) of Judg-
ments § 54. Congress thus gave district courts discretion to permit copy-
right-infringement suits to proceed without the participation of all co-own-
ers. A sound exercise of that discretion should account for the inefficien-
cies of duplicative litigation—in particular, the possibility of inconsistent
verdicts and potential unfairness to defendants.
      4 The Nwosuocha court granted the defendant’s motion to dismiss a
copyright infringement claim based on the “‘distinct and unique vocal ca-
dence, delivery, rhythm, timing, phrasing, meter and/or pattern’ or ‘flow’
as well as the ‘lyrical theme’ and ‘structure’ of the chorus.” 2023 WL
2632158, at *7. Those elements “lack[ed] sufficient originality alone, or as
combined, to merit compositional copyright protection or are categorically
                                                                      (cont’d)

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      The district court concluded on reconsideration that “[t]here is
no genuine issue of material fact as to whether defendants infringed
the protected elements of [Let’s Get It On]. The answer is that they
did not.” SAS, 673 F. Supp. 3d at 424-25. As it explained, “common
sense dictates that in the context of a musical composition, ‘numer-
ous’ requires more than just a commonplace chord progression and
harmonic rhythm to warrant protecting their combination.”         Id. at
423. The district court went on to conclude that it was “an unassail-
able reality that the chord progression and harmonic rhythm in [Let’s
Get It On] are so commonplace, in isolation and in combination, that
to protect their combination would give [Let’s Get It On] an impermis-
sible monopoly over a basic musical building block.”         Id. at 424.
For these reasons, the district court granted Sheeran’s motion for sum-
mary judgment. This appeal followed.

                        II.   DISCUSSION

      We group SAS’s challenges under two headings. First, SAS
challenges several rulings related to the scope of the 1973 copyright
registration for Let’s Get It On. According to SAS, the district court
erred by limiting the evidence it could present to support its infringe-
ment claim.    That error, in SAS’s view, flowed from the district
court’s misunderstanding of the scope of the 1973 registration. Sec-
ond, SAS challenges the district court’s entry of summary judgment
for Sheeran.    In its view, a jury must determine, based on the




ineligible for copyright protection.” Id. We affirmed on other grounds
and did not reach the numerosity issue. See Nwosuocha v. Glover, 2024 WL
2105473, at *1-2.

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similarities between the two songs, whether Sheeran infringed the
Let’s Get It On copyright. Both challenges fail.

        As to the first challenge, we affirm the district court’s exclusion
of evidence—including expert testimony—about anything beyond
the four corners of the Deposit Copy, because the scope of a copyright
in a musical work registered under the Copyright Act of 1909 (“1909
Act”) is limited to the elements found in the copy of the work depos-
ited with the Copyright Office.

        As to the second challenge, the district court also correctly con-
cluded that Sheeran was entitled to summary judgment. We agree
that SAS failed to raise a triable issue of fact as to whether the selection
and arrangement of the musical building blocks here—a four-chord
progression and syncopated harmonic rhythm whose combination
undisputedly is present in other prominent musical works—is origi-
nal enough to be protectable. And taken as a whole, no reasonable
jury could find that Thinking Out Loud is so substantially similar to
Let’s Get It On as to support an inference of wrongful copying. SAS’s
claim thus fails as a matter of law.

A.      The Scope of Copyright Registration

        SAS argues that the district court’s decision to limit the copy-
right registration to the four corners of the Deposit Copy was prem-
ised on an incorrect reading of the 1909 Act. On account of that mis-
reading, according to SAS, the district court erroneously excluded key
evidence of Sheeran’s infringement.

        The district court’s legal conclusions about the scope of the reg-
istration turn on the meaning of the 1909 Act, which we review de
novo. Mango v. BuzzFeed, Inc., 970 F.3d 167, 170 (2d Cir. 2020).


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      1.     Legal Standards
      The 1909 Act governs here because it was the copyright law in
effect in 1973, when the registration at issue was filed. See Shoptalk,
Ltd. v. Concorde-New Horizons Corp., 168 F.3d 586, 590 (2d Cir. 1999).
The 1909 Act provided federal copyright protection for musical com-
positions against “any [public and for-profit] arrangement or setting
of [the composition] or of the melody of it in any system of notation
or any form of record in which the thought of an author may be rec-
orded and from which it may be read or reproduced.” Copyright
Act of 1909, ch. 320, § 1(e), 35 Stat. 1075 (codified as amended at 17
U.S.C. § 1(e)) (1970) (repealed effective 1978).

      The 1909 Act imposed different registration requirements for
published and unpublished works. A composer seeking to protect
an unpublished musical work could do so “by the deposit, with claim
of copyright, of one complete copy of such work” with the Copyright
Office. 17 U.S.C. § 12 (1970). Published works, by contrast, could
be protected by affixing a copyright notice (the familiar ©) “to each
copy thereof published or offered for sale in the United States by au-
thority of the copyright proprietor.”     Id. § 10.   The author of the
published work was then required “promptly” to deposit “two com-
plete copies of the best edition thereof then published” with the Cop-
yright Office. Id. § 13 (emphasis added). If the author of the pub-
lished work failed to comply with the deposit requirement, his rights
under the 1909 Act would be unenforceable. See id. Thus, to secure
an enforceable copyright of a musical work, whether published or
not, the 1909 Act required depositing with the Copyright Office at
least one “complete copy” of the work.




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      But a copyright notice cannot be affixed to sound, so distrib-
uting a sound recording (such as by broadcasting it over the radio)
did not constitute “publication” under the Act. Cf. Sony Corp. v. Uni-
versal City Studios, Inc., 464 U.S. 417, 472 (1984) (Blackmun, J., dissent-
ing) (“Although the underlying musical work could be copyrighted,
the 1909 Act provided no protection for a particular performer’s ren-
dition of the work.”); Agee v. Paramount Commc’ns, Inc., 59 F.3d 317,
325 (2d Cir. 1995) (“It is clear that merely transmitting a sound record-
ing to the public on the airwaves does not constitute a ‘distribu-
tion.’”). So a musical composition was “published” only if the sheet
music were published. A composer seeking to protect a published
musical work under the 1909 Act could do so by filing with the Cop-
yright Office “two complete copies of the best edition thereof then
published.”      17 U.S.C. § 13 (1970). 5   The statute thus makes clear
that its enforceable protection for musical works is limited to the con-
tents of the “complete copy” of the work filed with the Copyright Of-
fice at the time of registration. Extending its protection beyond the
“complete copy” would negate the plain meaning of “complete.”

      Context reinforces this reading.       The 1909 Act required less
than a “complete copy” for works other than musical compositions.
For example, for a motion picture, Congress authorized deposit of “a
title and description, with not less than two prints taken from differ-
ent sections.”    17 U.S.C. § 12 (1970).    And for “a work of art or a
plastic work or drawing,” Congress authorized deposit of a “photo-
graph or other identifying reproduction thereof.”          Id.   So Con-
gress’s inclusion of “complete” to describe musical—but not other—


      5 By contrast, the 1976 Copyright Act allowed registration of musi-
cal works by depositing sound recordings. See 17 U.S.C. § 301(c).

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works was deliberate. See Polselli v. Internal Revenue Serv., 598 U.S.
432, 439 (2023) (“We assume that Congress acts intentionally and pur-
posely when it includes particular language in one section of a statute
but omits it in another section of the same Act.” (cleaned up)).

      This understanding complies with the principle of fair notice
that led to public registration of copyrights in the first place. Even
before the 1909 Act, the Supreme Court recognized that an important
reason for requiring a deposit copy was to allow others “to ascertain
precisely what was the subject of copyright.” Merrell v. Tice, 104 U.S.
557, 561 (1881). One cannot fairly be liable for infringement without
the ability to understand the contours of a prior creator’s rights.
That is why the “deposit (and accompanying registration) require-
ment was (as it still is) a condition precedent to the right to bring an
infringement action.”       2 Nimmer on Copyright § 7.16[A][2][b]
(2024); see 17 U.S.C. § 13 (1970); 17 U.S.C. § 411(a).

      The longstanding practices of the Copyright Office promote
this interest in predictability and fair notice. For example, the Of-
fice’s Compendium of U.S. Copyright Office Practices explained that
“protection extends only to the material actually deposited.” Com-
pendium of U.S. Copyright Office Practices § 2.6.1.II.a (1st ed. 1967). In-
deed, the Copyright Office was required to retain the deposit copies
of unpublished works—for which there would be no other way of
identifying the exact work protected by the statute—unless the copy-
right owner had a chance to claim and remove them. 17 U.S.C. § 214
(1970).

      In short, the 1909 Act protects only what was submitted to the
Copyright Office at the time of registration. We thus reach the same
conclusion as the Ninth Circuit in Skidmore, 952 F.3d at 1063 (holding

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that for a musical work registered under the 1909 Act, “[t]he inescap-
able conclusion is that the scope of the copyright is limited by the de-
posit copy”).

      2.     Application
      Under the text of the 1909 Act, the district court correctly con-
fined this case to the Deposit Copy. Townsend mailed five pages of
sheet music to the Copyright Office when he applied to register his
copyright in Let’s Get It On. Those pages represented a “complete
copy” of the work secured by the copyright. See 17 U.S.C. §§ 12-13
(1970). The scope of copyright protection for Let’s Get It On under
the 1909 Act is limited to the four corners of the Deposit Copy. Ele-
ments of Gaye’s popular audio recording of Let’s Get It On that do not
appear in the Deposit Copy are thus not protected by the registration.

      SAS’s arguments to the contrary are unavailing. First, SAS ar-
gues that a plaintiff must show “access and substantial similarity to
the work,” not to the deposit copy of the work. But that is not what
the 1909 Act says. The Act “establishes a condition—copyright reg-
istration—that plaintiffs ordinarily must satisfy before filing an in-
fringement claim and invoking the Act’s remedial provisions.” Reed
Elsevier v. Muchnick, 559 U.S. 154, 158 (2010). And a musical “work”
registered under the 1909 Act is the “complete copy” filed with the
Copyright Office.    SAS’s contrary understanding would allow in-
fringement suits for unregistered copyrights.

      Second, SAS argues that registration of the Deposit Copy “did
not shrink the scope of protection already established at common
law.” That is wrong. “[T]he securing of a statutory copyright, ei-
ther by general publication with a proper notice or by registration of
the work, ended the common-law protection.” Shoptalk, 168 F.3d at

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590; see also Bobbs-Merrill Co. v. Straus, 210 U.S. 339, 347 (1908) (com-
mon-law and statutory “rights do not co-exist in the same composi-
tion; when the statutory right begins the common-law right ends”);
Jewelers’ Mercantile Agency v. Jewelers’ Wkly. Publ’g Co., 155 N.Y. 241,
247 (1898) (“[N]o proposition is better settled than that a statutory
copyright operates to divest a party of the common-law right.”).
“[A] single work cannot be protected from copying under both fed-
eral and state law at the same time.”    Roy Export Co. Estab. v. Colum.
Broad. Sys., Inc., 672 F.2d 1095, 1101 n.13 (2d Cir. 1982).    So when
Townsend registered the Deposit Copy, he lost any state common-
law protections he may have enjoyed before. In any event, SAS did
not bring a common-law claim, so this argument is not only wrong,
but also irrelevant.

      Finally, SAS argues that the deposit-copy rule would treat dif-
ferently owners of U.S. works and foreign works, in “apparent viola-
tion” of the Berne Convention, which governs international enforce-
ment of foreign copyrights.     SAS notes that the Berne Convention
obligates signatories to allow infringement suits, including in the
United States, to enforce foreign copyrights regardless of any domes-
tic requirements for registration. So if Let’s Get It On had been regis-
tered abroad in a jurisdiction without the deposit-copy rule, the en-
tirety of Gaye’s sound recording could support SAS’s infringement
claim. Even if true, this argument is of no moment because SAS is
seeking to enforce a domestic copyright, not a foreign one.

      In sum, the Deposit Copy filed with the Copyright Office under
the 1909 Act defines the scope of a musical composition registered in
1973. Material and elements not appearing in the deposited sheet
music are not registered and are thus irrelevant to an action alleging


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infringement of the registered work. The district court properly con-
fined SAS’s case to the contents of the Deposit Copy and excluded
evidence relating to Gaye’s audio recording of Let’s Get It On. 6

       3.     Evidentiary Challenge
       SAS challenges the district court’s exclusion of John Covach’s
expert opinions about an “implied bass line.” Rule 702 governs the
admissibility of expert testimony: the expert must be qualified, his
testimony must be helpful, and his conclusions must derive from re-
liable principles and methods. United States v. Apple, Inc., 791 F.3d
290, 335 n.24 (2d Cir. 2015).               We review the district court’s


       6  In May 2020, during this litigation, SAS obtained a new copyright
registration for the sound recording of Let’s Get It On. SAS stated that it
planned to seek permission to amend its complaint to add allegations re-
lated to its newly obtained registration. The district court wrote:
   [I]f the Fourth Amended Complaint were filed in this case, I would
   incline towards severing its claims under the 1973 deposit copy and
   proceeding with preparing and trying them separately . . . . That
   being so, it is better to deny permission to file the Fourth Amended
   Complaint. Plaintiff may, without further correspondence or con-
   ferences if it wishes, file a formal motion for leave to file it, so the
   matter may be presented more fully.
Special App’x at 11-12.
        SAS never moved to amend. We thus reject its argument that the
district court erred by denying it leave to amend. Although the district
court said that it would likely do so, it expressly invited SAS to file a motion
to obtain a definitive answer. But SAS never filed a motion, so there is no
denial by the district court to review. See, e.g., United States v. Djibo, 850 F.
App’x 52, 57 (2d Cir. 2021) (summary order). SAS subsequently brought
a separate action against Sheeran based on the 2020 registration. See Com-
plaint, Structured Asset Sales, LLC v. Sheeran, 20-cv-4329 (S.D.N.Y June 8,
2020), ECF No. 1.

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evidentiary ruling “under a highly deferential abuse of discretion
standard,” reversing only if the decision is “manifestly erroneous.”
Bustamante v. KIND, LLC, 100 F.4th 419, 426-27 (2d Cir. 2024) (cleaned
up).

       Covach conceded that the Deposit Copy “does not include a
notated bass part,” and that the bass line he “posited” was merely one
of “many possibilities.” Covach testified that he “inferred” the bass
line—coincidentally the same bass line in the sound recording—from
the Deposit Copy by selecting the lowest notes from each of the
chords of the sheet music, which he claimed was the “most obvious
bass line” to infer from the Deposit Copy.

       There may be some instances in which expert testimony of this
sort can aid the trier-of-fact in interpreting what, precisely, is repre-
sented in the four corners of the Deposit Copy. But on the record
before us, the decision to exclude Covach’s proffered testimony was
not manifestly erroneous. If, as Covach claimed, the “posited” bass
line is indeed so “obvious” as to be implicit in the Deposit Copy, then
considering the unwritten bass line alongside the written chord pro-
gression would not have affected whether the combination of these
unprotectible musical elements was original (as explained below), be-
cause the two elements, by hypothesis, would go together. See Feist
Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 345, 362 (1991) (“[T]he
selection and arrangement of [elements] cannot be so mechanical or
routine as to require no creativity whatsoever.”); Matthew Bender &
Co. v. W. Publ’g Co., 158 F.3d 674, 682 (2d Cir. 1998) (“[C]reativity in-
heres in making non-obvious choices from among more than a few
options.” (emphasis added)). Therefore, we see no reason to disturb
the district court’s decision to exclude Covach’s testimony as “non-


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helpful.”     Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 591
(1993) (cleaned up).

         The district court correctly excluded Covach’s testimony and
cabined the admissible evidence to the scope of the registration—the
Deposit Copy.

B.       Summary Judgment

         SAS also argues that the district court erred by granting sum-
mary judgment to Sheeran. Sheeran was entitled to summary judg-
ment if “no genuine dispute of material fact” remained as to whether
he infringed SAS’s copyright. Fed. R. Civ. P. 56(a). We review the
decision to grant summary judgment de novo and draw all reasona-
ble inferences and resolve all ambiguities in favor of SAS. Island Soft-
ware & Comput. Serv., Inc. v. Microsoft Corp., 413 F.3d 257, 260 (2d Cir.
2005).

         1.    Legal Standards
         To establish a claim of copyright infringement, “a plaintiff with
a valid copyright must demonstrate that: (1) the defendant has actu-
ally copied the plaintiff’s work; and (2) the copying is illegal because
a substantial similarity exists between the defendant’s work and the
protectible elements of plaintiff’s.” Hamil Am. Inc. v. GFI, 193 F.3d
92, 99 (2d Cir. 1999) (cleaned up).

         Direct evidence of copying is rare, so copying may be inferred
when (1) a defendant had access to the original work; and (2) the de-
fendant’s work bears a “substantial similarity” to the original. Lip-
ton v. Nature Co., 71 F.3d 464, 470-71 (2d Cir. 1995). “The determina-
tion of the extent of similarity that will constitute a substantial, and
hence infringing, similarity presents one of the most difficult

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questions in copyright law, and one that is the least susceptible of
helpful generalizations.” 4 Nimmer on Copyright § 13.03[A] (2024).
“Slight or trivial similarities are not substantial and are therefore non-
infringing,” but “two works may not be literally identical and yet, for
purposes of copyright infringement, may be found to be substantially
similar.” Id.

       “The standard test for substantial similarity between two items
is whether an ‘ordinary observer, unless he set out to detect the dis-
parities, would be disposed to overlook them, and regard [the] aes-
thetic appeal as the same.’” Yurman Design, Inc. v. PAJ, Inc., 262 F.3d
101, 111 (2d Cir. 2001) (quoting Hamil Am., 193 F.3d at 100). This test
asks whether “an average lay observer would recognize the alleged
copy as having been appropriated from the copyrighted work.”
Knitwaves, Inc. v. Lollytogs Ltd., 71 F.3d 996, 1002 (2d Cir. 1995)
(cleaned up).

       “[C]opyright protection may extend only to those components
of a work that are original to the author,” meaning they were “inde-
pendently created” and possess “some minimal degree of creativity.”
Feist, 499 U.S. at 345. 7 Important here, music “‘borrows, and must

       7  Although we generally “treat the question of whether particular
elements of a work demonstrate sufficient originality and creativity to war-
rant copyright protection as a question for a factfinder,” Matthew Bender &
Co., 158 F.3d at 681, the record is sometimes clear enough that we can de-
termine as a matter of law that a particular work or component thereof does
not “possess more than a de minimis quantum of creativity,” Feist, 499 U.S.
at 363. See, e.g., Boone v. Jackson, 206 F. App’x 30, 32 (2d Cir. 2006) (sum-
mary order) (concluding that plaintiffs had failed to raise a triable issue of
fact as to whether the lyric “holla back” was original given that the defend-
ants had identified over 30 contemporary American pop songs using the
same phrase).

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necessarily borrow, and use much which was well known and used
before.’” Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 575 (1994)
(quoting Emerson v. Davies, 8 F. Cas. 615, 619 (C.C.D. Mass. 1845)
(Story, J.)); 1 Nimmer on Copyright § 2.05[B] (2024) (“In the field of
popular songs, many, if not most, compositions bear some similarity
to prior songs.”). Affording robust copyright protection for simple
combinations of common musical elements could thwart, rather than
encourage, creativity. See Feist, 499 U.S. at 349-50 (noting that the
goal of copyright law is to “encourage[] others to build freely upon
the ideas and information conveyed by a work”).

      Copyright law accounts for both “the limited number of notes
and chords available to composers and the resulting fact that common
themes frequently reappear in various compositions, especially in
popular music.”     Gaste v. Kaiserman, 863 F.2d 1061, 1068 (2d Cir.
1988). Thus, basic musical building blocks like notes, rhythms, and
chords are generally not copyrightable. See Compendium of U.S. Cop-
yright Office Practices § 802.5(A) (3d ed. 2017) (“examples of common
property musical material” include “chromatic scales” and “arpeg-
gios”); 2 Patry on Copyright § 3:93 (2024) (“[M]usical compositions
consisting of only a few musical notes, such as ‘mi do re so, so re mi
do,’ diatonic or chromatic scales, and common chord progressions,
are not protectable.”).

      But a work consisting of unprotectable elements may still be
protectable as an original “selection and arrangement” of those ele-
ments. Feist, 499 U.S. at 348. “What is protectible then is the au-
thor’s original contributions—the original way in which the author
has selected, coordinated, and arranged the [unoriginal] elements of
his or her work.” Knitwaves, 71 F.3d at 1004 (cleaned up). Whether


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a selection and arrangement of otherwise unprotectable elements is
original enough to merit copyright protection “is a function of (i) the
total number of options available, (ii) external factors that limit the
viability of certain options and render others non-creative, and
(iii) prior uses that render certain selections ‘garden variety.’” Mat-
thew Bender & Co., 158 F.3d at 682-83.

      In a selection-and-arrangement case, our typical ordinary-ob-
server test must be “more discerning.” Hamil Am., 193 F.3d at 101.
“[T]he term ‘substantial similarity’ is properly reserved for similarity
that exists between the protected elements of a work and another
work.” Zalewski v. Cicero Builder Dev., Inc., 754 F.3d 95, 101 (2d Cir.
2014). So, when addressing a selection and arrangement of unpro-
tectable elements, we “attempt to extract the unprotectible elements
from our consideration and ask whether the protectible elements,
standing alone, are substantially similar.” Knitwaves, 71 F.3d at 1002
(emphasis omitted).

      2.     Analysis
      SAS argues that the selection and arrangement of two musical
elements—Let’s Get It On’s chord progression and syncopated har-
monic rhythm—is original enough to warrant copyright protection.
On the record before us, we agree with the district court that SAS
failed to raise a triable issue of fact that this combination of elements
in the Deposit Copy is original and thus protectible.

             a.    Chord Progression and Rhythm
      Let’s Get It On uses a simple progression of four chords, three
of which are the basic I–IV–V chords. That chord progression is not
protectable on its own. See, e.g., Gray v. Hudson, 28 F.4th 87, 100 (9th
Cir. 2022); Batiste v. Najm, 28 F. Supp. 3d 595, 615-16 (E.D. La. 2014)

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(collecting cases and concluding that “courts have been consistent in
holding that the basic chord progressions so ubiquitous in popular
music are unoriginal and, thus, unprotectable”); see also Swirsky, 376
F.3d at 848 (distinguishing between non-copyrightable “chord pro-
gressions” standing alone and a copyrightable “chorus,” which in-
volves these progressions “in combination with rhythm and pitch se-
quence”); Johnson v. Gordon, 409 F.3d 12, 23-24 (1st Cir. 2005) (“[The
III, II] harmonic progression, which is a stereotypical building block
of musical composition, lacks originality.”). It is indisputable, and
SAS properly conceded, that the chord progression in Let’s Get It On,
standing alone, cannot support an infringement claim.

        SAS also alleges that Sheeran copied the harmonic rhythm—or
the timing of chord changes—from Let’s Get It On. What makes the
harmonic rhythm special, according to SAS, is how the second and
fourth chord changes come slightly ahead of the beat on which they
might be expected to fall—a form of syncopation. But commonplace
harmonic rhythms, like basic chord progressions, are unprotectable
musical building blocks. “[C]ourts have been consistent in finding
rhythm to be unprotectable,” Batiste, 28 F. Supp. 3d at 616, because
“originality of rhythm is a rarity, if not an impossibility,” N. Music
Corp. v. King Rec. Distrib. Co., 105 F. Supp. 393, 400 (S.D.N.Y. 1952).
See Darrell, 113 F.2d at 80 (“trite” musical choices fall outside of copy-
right’s protections). Let’s Get It On’s harmonic rhythm is an unpro-
tectable basic syncopation technique, and SAS does not argue other-
wise.

              b.    Combination of Two Unprotectable Elements
        SAS’s primary argument is that, even if the chord progression
and syncopated rhythm are individually unprotectable, the selection


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and arrangement of those two elements in Let’s Get It On was suffi-
ciently original to warrant protection. The record before us does not
support this contention.

      Sheeran’s expert, Dr. Lawrence Ferrara, determined that the
same combination of elements “was previously embodied in well-
known songs including [Georgy Girl] and [Since I Lost My Baby] that
predate [Let’s Get It On],” and he therefore concluded that “[t]here is
nothing particularly novel, unique, or distinctive about combining the
centuries-old anticipation technique with any particular chord pro-
gression, let alone a commonplace chord progression.” Covach did
not dispute that Ferrara had identified at least two prior songs featur-
ing the same combination of elements; he merely observed that the
combination was not present in the most popular recorded version of
either prior song.     This is of no moment, however, where the evi-
dence of prior usage is being offered to show that the similarities be-
tween the two works are based on “garden variety” elements in the
public domain, Matthew Bender & Co., 158 F.3d at 683, rather than to
rebut an inference of actual copying by identifying an earlier “com-
mon source” to which both authors had access and from which both
could have borrowed. Compare Boone, 206 F. App’x at 32, with Gaste,
863 F.2d at 1068-69.

      Moreover, Covach did not provide any affirmative evidence to
counter Ferrara’s analysis. He simply asserted that the combination
of elements in Let’s Get It On was “unmistakable” and “noteworthy,”
and that its use in Thinking Out Loud must therefore be a “specific ref-
erence” to Gaye’s and Townsend’s song. That mere assertion does
not suffice to create a triable issue of fact on protectability. See, e.g.,
Major League Baseball Props., Inc. v. Salvino, Inc., 542 F.3d 290, 311 (2d


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Cir. 2008) (noting that “[a]n expert’s conclusory opinions” or “opin-
ions that are without factual basis” are “inappropriate material for
consideration on a motion for summary judgment”).

      SAS’s selection-and-arrangement claim also fails because it
risks granting a monopoly over a combination of two fundamental
musical building blocks.       The four-chord progression at issue—
ubiquitous in pop music—even coupled with a syncopated harmonic
rhythm, is too well-explored to meet the originality threshold that
copyright law demands.         See, e.g., Skidmore, 952 F.3d at 1075-76
(“[M]any works of art can be recast as compilations of individually
unprotected constituent parts . . . deem[ing] substantially similar two
vastly dissimilar musical compositions, novels, and paintings for
sharing some of the same notes, words, or colors.”). Overprotecting
such basic elements would threaten to stifle creativity and undermine
the purpose of copyright law: “To promote the Progress of Science
and useful Arts.” U.S. CONST., art. I, § 8, cl. 8; see also Fox Film Corp.
v. Doyal, 286 U.S. 123, 127 (1932) (“The sole interest of the United
States and the primary object in conferring the monopoly [that copy-
right affords] lie[s] in the general benefits derived by the public from
the labors of authors.”).

       The district court thus correctly determined that SAS failed to
raise a triable claim that Let’s Get It On’s chord progression/harmonic
rhythm combination was protectible. 8



      8  “Where the quantum of originality is slight and the resulting cop-
yright is ‘thin,’ infringement will be established only by very close copying
because the majority of the work is unprotectable.” Beaudin v. Ben & Jerry’s
Homemade, Inc., 95 F.3d 1, 2 (2d Cir. 1996) (emphasis added). A plaintiff
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              c.     Overall Similarity
       Finally, we also agree with the district court that a reasonable
jury could not find the songs as a whole substantially similar. While
“the infringement analysis must begin by dissecting the copyrighted
work into its component parts in order to clarify precisely what is not
original, [the] infringement analysis is not simply a matter of ascer-
taining similarity between components viewed in isolation.” Tufen-
kian Imp./Exp. Ventures, Inc. v. Einstein Moomjy, Inc., 338 F.3d 127, 134
(2d Cir. 2003).    We must also consider whether the “total concept
and overall feel” of the two songs is substantially similar. Peter F.
Gaito Architecture, LLC v. Simone Dev. Corp., 602 F.3d 57, 66 (2d Cir.
2010) (cleaned up).       The classic formulation in music cases “is
whether defendant took from plaintiff’s work[] so much of what is
pleasing to the ears of lay listeners, who comprise the audience for
whom such popular music is composed, that defendant wrongfully
appropriated something which belongs to the plaintiff.” Arnstein v.
Porter, 154 F.2d 464, 473 (2d Cir. 1946).

       Only substantial similarity—not any similarity—suffices.
And similarity depends on context. “In the field of popular songs,
many, if not most, compositions bear some similarity to prior songs.”
1 Nimmer on Copyright § 2.05[B].               So while a similar chord




seeking to enforce a thin copyright must therefore show that the challenged
work features “the particular selection or arrangement,” Feist, 499 U.S. at 351
(emphasis added), or “the same selection and arrangement” as the original,
id. at 362 (emphasis added). Here, however, as SAS’s own complaint
shows, Townsend used a I–iii–IV–V progression, while Sheeran used a I–I–
IV–V progression. App’x at 42. Thinking Out Loud thus does not feature
the particular selection and arrangement featured in the Deposit Copy.

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progression and harmonic rhythm may create a similar sound and
feel, that is not enough to show substantial similarity.

      Here, no jury could find that, taken as a whole, Let’s Get It On
and Thinking Out Loud are substantially similar. Neither the melody
nor the lyrics of Thinking Out Loud bears any resemblance to those in
Let’s Get It On. Cf. N. Music Corp., 105 F. Supp. at 400 (“It is the ar-
rangement or succession of musical notes, which are the finger prints
of the composition, and establish its identity.”); Harper & Row Publish-
ers, Inc. v. Nation Enters., 471 U.S. 539, 564-65 (1985) (analyzing
whether the infringing work copied “what was essentially the heart”
of the original).    “Undeniable and obvious differences exist be-
tween” them. Skidmore, 952 F.3d at 1080 (Watford, J., concurring).
So SAS’s infringement claim fails.

                               *      *      *

      In sum, the allegedly infringing elements here boil down to a
similar, but not identical, four-chord progression paired with a com-
monplace harmonic syncopation, neither of which is sufficiently orig-
inal to be protectable in isolation, nor is their combination. What is
more, the songs are not substantially similar taken as a whole. Thus,
no reasonable jury could infer that Sheeran plagiarized the Deposit
Copy when he wrote Thinking Out Loud.              We affirm the district
court’s entry of summary judgment in Sheeran’s favor.9


      9  The district court concluded that selection-and-arrangement theo-
ries cannot proceed based on the combination of various numbers of un-
protectable elements—i.e., numerosity. We affirm on other grounds.
Although the number of elements in combination is an aspect of the distinc-
tiveness of music, originality is not a concept that is easily reducible to a
simple test like numerosity.

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                        III.   CONCLUSION

      The judgment of the district court is affirmed. 10




      10 The parties dispute the concert proceeds that SAS might have re-
covered. Because SAS lost on its copyright-infringement claim, these chal-
lenges are moot.

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